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JOSÉ A. CABRANES, Circuit Judge, joined by DEBRA ANN LIVINGSTON, RICHARD J. SULLIVAN,
JOSEPH F. BIANCO, WILLIAM J. NARDINI, and STEVEN J. MENASHI, Circuit Judges, concurring
in the order denying rehearing en banc:

       I concur in the order denying rehearing of this case en banc.

       As a member of the unanimous panel in this case, I begin by observing that the

panel opinion expressly underscored the importance of the issues involved in this

appeal. 1 And yet, despite the controversy that this subject matter naturally engenders,

the fact remains that the core questions on appeal are basic “questions of statutory

construction.” 2

       In her dissent from the Court’s order denying rehearing en banc, Judge Pooler

characterizes the outcome of this petition for rehearing en banc as “[a]stonishing[]”;

asserts that she is “frankly, astounded,” that the Court did not grant rehearing,

particularly in light of the circuit split that now exists; and remarks that the contrary

opinions of our sister circuits “call[] into serious question the correctness of our Court’s

rationale and conclusions.” 3 Regardless of the differing opinions of those circuits, our

Court’s decision to deny rehearing—one made by an en banc court consisting of twelve



1       See New York v. Dep’t of Justice (“DOJ”), 951 F.3d 84, 90 (2d Cir. 2020) (“Th[is] case
implicates several of the most divisive issues confronting our country … national immigration
policy, the enforcement of immigration laws, the status of illegal aliens in this country, and the
ability of States and localities to adopt policies on such matters contrary to, or at odds with,
those of the federal government.”).

2      Id.

3      See post, Pooler, J., dissenting from denial of rehearing en banc, at 1-3.
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of our Court’s thirteen active Circuit Judges—evinces an unmistakable truth: that, in the

circumstances presented, reasonable judicial minds can differ as to whether the relevant

statutory text permits the Department of Justice to impose the challenged conditions on

grants of money to state and municipal law enforcement. There is nothing

“astonishing” here about a disagreement among sister circuits, much less anything

deserving the castigation by another colleague who asserts that our panel’s decision is

“wrong, wrong, and wrong again.” 4

        Despite the vigor and intensity of Judge Pooler’s dissent, she sheds little new

substantive light on the debate. 5 Instead, Judge Pooler primarily marshals the



4       See post, Lohier, J., concurring in denial of rehearing en banc, at 3. As the only active
judge on a panel that includes Senior Judges Ralph K. Winter and Reena Raggi, I offer a sidebar
comment in the nature of a point of personal privilege. Judge Lohier’s opinion regarding
rehearing—a concurrence which is functionally a dissent—is oddly focused on scolding several
of his colleagues, comparing their votes in this case to those on prior en banc polls. These
criticisms, unfounded on the merits, are addressed in the measured concurring opinion of Judge
Sullivan, which I join in full. See post, Sullivan, J., concurring in denial of rehearing en banc, at 1-
4.

5       Of particular interest is Judge Pooler’s silence on the panel opinion’s note that Section
1373—the statute requiring cooperation between federal, state, and local law enforcement—
need not be found constitutional in all applications in order to be upheld here in the narrow
context of federal funding. See New York v. DOJ, 951 F.3d at 111-12. As recently reiterated by the
Supreme Court, we are to afford a strong presumption “that an unconstitutional provision in a
law is severable from the remainder of the law or statute.” Barr v. Am. Ass'n of Political
Consultants, Inc., --- S. Ct. ----, 2020 WL 3633780, at *8 (2020) (citing Free Enterprise Fund v. Public
Co. Accounting Oversight Bd., 561 U.S. 477 (2010)); see also Seila Law LLC v. Consumer Financial
Protection Bureau, --- S. Ct. ----, 2020 WL 3492641 at *20 (2020) (noting that “in the absence of a
severability clause, the traditional rule is that the unconstitutional provision must be severed
unless the statute created in its absence is legislation that Congress would not have enacted”
(internal quotation marks omitted)).


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arguments of the various opinions of the First, Third, Seventh, and Ninth Circuits

upholding injunctions that preclude enforcement of the conditions. 6 All of these

opinions, save that of the First Circuit, were available to the panel prior to its issuing its

decision. The panel opinion thoroughly addressed all of the reasons relied on by our

sister circuits in their decisions rejecting the Department of Justice’s position, and

explained why, with due respect, it found each of those reasons unpersuasive with

respect to the Certification, Notice, and Access Conditions, as well as the claim of

unconstitutional commandeering under the Tenth Amendment to the Constitution. 7

       In concurring in the denial of rehearing, I need not restate the host of reasons

already explained by Judge Raggi in her comprehensive and careful opinion (in which

Judge Winter and I joined in full) as to why, in our view, our sister circuits were in

error. 8 It does happen from time to time that our perspective differs from that of other



6       See generally City of Providence v. Barr, 954 F.3d 23 (1st Cir. 2020); City of Philadelphia v.
Attorney Gen., 916 F.3d 276 (3d Cir. 2019); City of Los Angeles v. Barr, 941 F.3d 931 (9th Cir. 2019);
City of Chicago v. Sessions, 888 F.3d 272 (7th Cir. 2018).

7       See, e.g., New York v. DOJ, 951 F.3d at 103 (“We cannot adopt the Seventh or Ninth
Circuit’s conclusions because we do not think the Attorney General’s authority to impose the
three challenged conditions here derives from the words ‘special conditions’ or ‘priority
purposes.’”); id. (“The Third Circuit, however, viewed the Attorney General’s statutory
authority respecting Byrne Program grants as ‘exceptionally limited.’ … We do not.”).

8        Chief Judge Katzmann, in his opinion dissenting from denial of rehearing en banc,
appears to fault the panel for relying on the phrase “form acceptable to the Attorney General”
in Section 10153(a)(5)(D) to conclude that the Attorney General could require compliance
certification to be in a form that identifies specific statutes, such as Section 1373. See post,
Katzmann, C.J., dissenting from denial of rehearing en banc, at 4-6. This is perplexing. If the
Government invokes a statute as the source of authority for a challenged action, the Court is
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Circuits. (The opinion of the First Circuit that was issued after our own and offered

disparaging assessments of our panel’s efforts deserves a personal “sidebar” comment,

which I offer at the margin in note 9). 9


obliged to construe that statute, regardless of whether the Government’s urged construction
persuades. See United States v. Figueroa, 165 F.3d 111, 114 (2d Cir. 1998) (Sotomayor, J.) (“We
review issues of statutory construction de novo, and the language of a statute is our starting
point in such inquiries.” (internal citation omitted)). He also faults the panel for referring to the
Attorney General’s rulemaking authority, observing that DOJ did not rely on that authority in
its brief to this Court, and specifically disavowed such reliance at oral argument in a related
case before the Ninth Circuit. See post, Katzmann, C.J., dissenting from denial of rehearing en
banc, at 6-8. As a member of the panel, I offer two responses. First, Judge Raggi’s opinion refers
to the Attorney General’s rulemaking authority in order to reinforce conclusions already
reached on other grounds. Does disagreement about such a reference warrant en banc review?
Second, and in any event, the statutory rulemaking authority applies generally to provisions of
the Byrne grant. See 34 U.S.C. § 10155. These provisions authorize certain action by the Attorney
General with respect to statutory requirements for compliance certification, notice, and access.
With respect, I am at a loss to understand how a court can fairly assess the scope of that
authority without taking into account that it is informed by a general rulemaking authority.

9        The opinion of the First Circuit that Judge Pooler praises for its “apt[] observ[ations]”
arguably deserves no direct response, being more notable for its tone than for its persuasive
reasoning. A few citations will suffice as a mini-baedeker for the curious. Our construction of
the statutory phrase “all other applicable Federal laws,” 34 U.S.C. § 10153(a)(5)(D), is derided as
“simplistic,” City of Providence, 954 F.3d at 36; “strain[ing] credulity,” id. at 37; “extravagant,” id.;
“blind[ly] allegian[t] to the dictionary,” id.; and, relying on the author’s favorite source for
authority, “flout[ing] th[e] principle” that “[c]ourts generally ought not to interpret statutes in a
way that renders words or phrases either meaningless or superfluous,” id. at 37 (citing United
States v. Walker, 665 F.3d 212, 225 (1st Cir. 2011)). Res ipsa loquitur. Meanwhile, the First Circuit
makes no mention of the fact that the very definition of “applicable” on which our opinion
relies has been employed by the Supreme Court. See New York v. DOJ, 951 F.3d at 106 n.21
(citing Ransom v. FIA Card Servs., N.A., 562 U.S. 61, 69-70 (2011) (construing provision of
Bankruptcy Code)). Much less does it acknowledge that Congress’s use of the word “all” in the
phrase “all other applicable Federal laws” is a powerful signal of its intent to imbue the phrase
with its broadest possible meaning. Id. at 106 (citing Norfolk & W Ry. Co. v. Am. Train Dispatchers
Ass’n, 499 U.S. 117, 128-29 (1991) (explaining that phrase “all other law” is “clear, broad, and
unqualified”)). It accuses our opinion of “reading the term ‘applicable’ out of the statute,” City
of Providence, 954 F.3d at 37, while failing even to acknowledge the opinion’s argument that “the
word ‘applicable’ does serve a limiting function in the statutory text,” New York v. DOJ, 951 F.3d
at 106. I am, frankly, astounded (as it were), that Judge Pooler applauds as an “apt[]
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       In the final analysis, the resolution of this dispute will be determined not by

arithmetic, but rather, by the strength and persuasiveness of the several decisions. There

can be little doubt that, in the fullness of time, the conflict among the Circuits will be

resolved by our highest tribunal.




observ[ation]” the First Circuit’s charge that, in construing 34 U.S.C. § 10153(a)(5)(D), this Court
is simply “assuming” a legislative intent having no basis in statutory text or “sound principles
of statutory construction.” City of Providence, 954 F.3d at 36-37.
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